                 Case 3:20-cv-05920-LB Document 52 Filed 10/03/22 Page 1 of 3




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16 Navient Solutions, LLC; Earnest, LLC; and The
     Navient Corporation Executive Severance Plan for Senior
17 Officers
18                                   UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
20
21    LOUIS BERYL,                                         Case No.: 3:20-cv-05920-LB
22                            Plaintiff,                   JOINT CASE MANAGEMENT
                                                           STATEMENT
23                    vs.
                                                           DATE:      October 3, 2022
24    NAVIENT CORPORATION, NAVIENT
      SOLUTIONS, LLC, EARNEST, LLC, and the                Hon. Laurel Beeler
25    NAVIENT CORPORATION EXECUTIVE
      SEVERANCE PLAN FOR SENIOR
26    OFFICERS EFFECTIVE MAY 1, 2014
27                            Defendants.
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                                       JOINT CASE MANAGEMENT STATEMENT
                  Case 3:20-cv-05920-LB Document 52 Filed 10/03/22 Page 2 of 3




 1           Plaintiff Louis Beryl and Defendants Navient Corporation, Navient Solutions, LLC, Earnest,

 2 LLC, and The Navient Corporation Executive Severance Plan for Senior Officers (collectively
 3 “Defendants”) submit this Joint Case Management Statement and Proposed Order to address issues
 4 raised by the Court’s Order dated October 2, 2022 [Dkt. No. 50]:
 5           1.      The Parties believe they are in compliance with the Court’s Case Management and

 6 Pretrial Orders. Per the Court’s prior Order [Dkt. No. 48], the Parties submitted their Joint
 7 Proposed Pretrial Order on September 26, 2022 [Dkt. No. 49]. Attached as exhibits to that filing
 8 are the Parties’ joint exhibit list, witness lists, proposed jury instructions, proposed voir dir
 9 questions, proposed jury instructions, Rule 26(a)(3) disclosures, and Joint Proposed Findings of
10 Fact and Conclusions of Law. Chambers copies of the documents were delivered to the Court on
11 September 27, 2022.
12           2.      On September 30, 2022, the Parties arranged for the delivery of the trial exhibits to

13 the Court. This morning, counsel for the Parties spoke with a deputy clerk and were advised that
14 the trial exhibits binder delivered on September 30th could not be located. The Parties are,
15 therefore, arranging for a new trial exhibits binder to be delivered as soon as possible.
16           3.      The Parties acknowledge that the following documents have not been filed or lodged

17 with the Court: (1) motions in limine; (2) signed stipulations; (3) Copies of Deposition Designations
18 for witnesses appearing only by designation; (4) Copies of Designation of Interrogatories and
19 Admissions; and (5) trial briefs. The reason items (1) through (4) have not been filed is that neither
20 Party intends to make a motion in limine, there are no signed stipulations between the Parties, no
21 witness will be testifying solely by designation, and the Parties do not plan to introduce
22 interrogatory responses or admissions into evidence. The Parties have not filed trial briefs because
23 they read the Court’s orders as requiring trial briefs only for disputed legal issues and the Parties do
24 not believe that such issues exist in this case. If the Court would like the Parties to file trial briefs,
25 they will do so promptly.
26 / /
27 / /
28 / /

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                                       JOINT CASE MANAGEMENT STATEMENT
                Case 3:20-cv-05920-LB Document 52 Filed 10/03/22 Page 3 of 3




 1         4.     Similarly, if the Court requires additional pretrial filings by Parties they will

 2 promptly prepare and file whatever the Court requests.
 3 Dated: October 3, 2022                        VENTURA HERSEY & MULLER LLP

 4
 5                                       By:      /S/ Daniel J. Muller
                                                 DANIEL J. MULLER
 6                                               Attorneys for Plaintiff Louis Beryl

 7
 8 Dated: October 3, 2022                        JACKSON LEWIS P.C.
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10                                       By:      /S/ Donald P. Sullivan
                                                 DONALD P. SULLIVAN
11                                               Attorneys for Defendants
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                                    JOINT CASE MANAGEMENT STATEMENT
